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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

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Counsel to the Debtors
                                                             Case Nos.: 22-11049 (JKS)
In Re:
                                                             Chapter: 11
PANKAJ and VARSHA DESAI,
                                                             Subchapter V Small Business
                                            Joint Debtors.


               SMALL BUSINESS DEBTORS’ PLAN OF REORGANIZATION
        This Plan of Reorganization is presented to you to inform you of the proposed Plan for
restructuring the debt of Pankaj and Varsha Desai (the “Debtors”), and to seek your vote to accept
the Plan.
        You are encouraged to carefully review the full text of this document, including all exhibits
and attachments, before deciding how to vote on the Plan. To assist you in your review, please
note that a list of definitions and a section of frequently asked questions appear at the end of this
document.
        IN ADDITION TO CASTING YOUR VOTE TO ACCEPT OR REJECT THE
PLAN, YOU MAY OBJECT TO CONFIRMATION OF THE PLAN. IF YOU WISH TO
OBJECT TO CONFIRMATION OF THE PLAN, YOU MUST DO SO BY NO LATER
THAN SEVEN DAYS PRIOR TO THE CONFIRMATION HEARING.
        YOUR BALLOT STATING HOW YOU ARE VOTING ON THE PLAN MUST BE
RETURNED BY NO LATER THAN SEVEN DAYS PRIOR TO THE CONFIRMATION
HEARING. THE BALLOT MUST BE MAILED TO THE FOLLOWING ADDRESS:
MARK J. POLITAN, ESQ., POLITAN LAW, LLC, 88 EAST MAIN STREET,
MENDHAM, NEW JERSEY 07945.
        A HEARING ON THE CONFIRMATION OF THE PLAN IS SCHEDULED FOR
        (TBD) IN COURTROOM OF THE HONORABLE JOHN K. SHERWOOD AT THE
UNITED STATES BANKRUPTCY COURT, 50 WALNUT STREET, NEWARK, NEW
JERSEY 07102

Your rights may be affected by this Plan. You should consider discussing this document with an
attorney.

Dated: May 10, 2022                                          POLITAN LAW, LLC
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           SUMMARY OF THE PLAN AND DISTRIBUTIONS TO CREDITOR

        The Debtors propose a five (5) year plan funded by all of the Debtors’ projected disposable
household income. The Debtors propose 20 quarterly disbursements to priority and general
unsecured creditors. Secured claims will be paid pursuant to their underlying notes and will be
unimpaired. General unsecured creditors will receive 20 quarterly pro rata distributions of the
Debtors’ disposable household income which includes a proposed balloon payment upon the
expiration of the five years for any outstanding amount due equal to the proposed dividend.

                                ARTICLE 1
           HISTORY OF THE BUSINESS OPERATIONS OF THE DEBTOR

         1.1.    Nature of the Debtors’ Business.

        The Debtors are married individuals who have filed this case jointly. Pankaj Desai and
Varsha Desai are co-owners of SONALI ENERGEES USA LLC, an entity which is a solar panel
importer and distributor (the “Corporation”). Pankaj Desai is the President of the Corporation.
Varsha Desai is employed by the Closter Borough Public Library. The Debtors and their two (2)
adult children reside at 39 Walker Avenue, Closter, New Jersey 07624.

        1.2.    History of Business Operations of the Debtors

         Pankaj Desai is employed as the President of the Corporation since 2012 and Varsha
 Desai is employed as an administrative assistant for the Closter Borough Public Library since
 2007.

        1.3     Filing of the Debtors’ Chapter 11 Case.

       On February 9, 2022 the Debtors filed a joint voluntary petition for relief under the
Bankruptcy Code. The Chapter 11 case is pending in the Bankruptcy Court in Newark, New Jersey
before the Honorable John K. Sherwood, U.S.B.J. Nancy Isaacson has been appointed the
Subchapter V Trustee (the “Trustee”).

        1.4.    Legal Structure and Ownership.

        The Debtors are individuals.
        1.5.    Debtors’ Assets.

       The Debtors’ personal property and values are identified on the Debtors’ Schedules A and
B of the petition and are summarized on Exhibit A.

        1.6.    Debtors’ Liabilities.

       The Debtors’ Liabilities are evidenced by Debtors’ Schedules D, E, and F of the petition

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and are summarized on Exhibit B.

          1.7.    Current and Historical Financial Conditions.

       The Debtors’ total current household income is approximately $8,700.00 per month on
average. The Debtors’ household's income is derived from Pankaj Desai’s employment at the
Corporation and Varsha’s Desai’s employment at the Closter Public Library. The Debtors' income
has been and will be supplemented by increases in salary from the Corporation over the term of
the Plan and the subletting of an available room in their primary residence to an extended family
member or member of their community on or before the Effective Date.

        Pankaj Desai has co-owned and worked for the Corporation since 2010 and Varsha Desai
has worked with the Borough of Closter Public Library since 2007. The Debtors project sufficient
income to support this reorganization as reflected in monthly operating reports filed with the Court
to date, the schedules filed and the financial projections contained on Exhibit C. The Debtors’
projected net disposable monthly income as of the Petition Date was $1,690.48 as reflected in the
Debtors’ Schedules I and J and which has increased during the post-petition period with
adjustments to salary from the Corporation, and projects to further increase to approximately
$3,900.00 over the life of the Plan.

          1.8.    Events Leading to the Filing of the Bankruptcy Case.

         The Debtors’ Chapter 11 filing was precipitated by the entry of summary judgment in
litigation pending in the United States District Court for the District of New Jersey in favor of
Bank of America, N.A. (“BOA”) in the approximate amount of $2,150,824.43. The judgment was
entered against the Debtors as guarantors of a business loan made to and for the benefit of the
Corporation. Judgment was also entered against the Corporation as the primary obligor, however,
the Corporation, co-owned by the Debtors, has not filed any voluntary petition for bankruptcy and
remains a non-debtor in these or any other proceedings.

         1.9.    Significant Events During the Bankruptcy Case.

       Describe significant events during the Debtors’ bankruptcy case, which may
include:

     •     On February 9, 2022, the Debtors filed Joint Chapter 11 Voluntary Petition, Small
           Business Subchapter V (Docket No. 1).
     •     On February 9, 2022, Certificates of Credit Counseling by Pankaj and Varsha Desai
           were filed. (Docket Nos. 2 and 3)
     •     On February 10, 2022, the Office of the U.S. Trustee appointed Nancy Isaacson as the
           Subchapter V Trustee (Docket No. 4).
     •     On February 10, 2022, Debtors’ counsel filed an Application for Retention of
           Professional Politan Law, LLC as Debtors’ bankruptcy attorney (Docket No. 6).
     •     On February 25, 2022, the Debtors filed Tax Information for the Year 2020 (Docket
           No. 15).
     •     On March 1, 2022, the Debtors filed a Statement that No Documents Required by

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         U.S.C. 1116 Have Been Filed or Prepared (Docket No. 16).
     •   On March 9, 2022, the Court entered an Order Granting Debtors’ Application to
         Employ Politan Law. LLC (Docket No. 18).
     •   On March 15, 2022, Debtors’ counsel filed Status Report for Subchapter V on behalf
         of the Debtors (Docket No. 21).
     •   On March 16, 2022, the Section 341(a) Meeting of Creditors was conducted by the
         Office of the United States Trustee.
     •   On March 28, 2022, Debtors’ counsel filed Debtors’ Monthly Operating Report for
         Filing Period of February 2022 (Docket No. 22).
     •   On March 29, 2022, the Initial Status Conference was held before the Hon. John K.
         Sherwood.
     •   On April 21, 2022, Debtors’ counsel filed Debtors’ Monthly Operating Report for
         Filing Period of March 2022 (Docket No. 23).

         1.10.   Projected Recovery of Avoidable Transfers

        The Debtors do not intend to pursue preference, fraudulent conveyance, or other avoidance
actions.
                                          ARTICLE 2
                                          THE PLAN

       The Debtors’ Plan must describe how its Creditors will be paid. Certain Claims are entitled
to specific treatment under the Bankruptcy Code and are not placed in a class for purpose of
payment. For example, Administrative Expenses and Priority Tax Claims are not classified.

        As required by the Code, the Plan places Claims and Equity Interests in various classes and
describes the treatment each class will receive. The Plan also states whether each class of Claims
or Equity Interests is impaired or unimpaired. A Claim or Equity Interest can be impaired if the
Plan alters the legal, equitable or contractual rights to which the Claimants are otherwise entitled.
If the Plan is confirmed, each Creditor’s recovery is limited to the amount provided in the Plan.

        Only Creditors in classes that are impaired may vote on whether to accept or reject the
Plan, and only Creditors holding Allowed Claims may vote. A class accepts the Plan when more
than one-half (1/2) in number and at least two-thirds (2/3) in dollar amount of the Allowed Claims
that actually vote, vote in favor of the Plan. Also, a class of Equity Interest holders accepts the
Plan when at least two-thirds (2/3) in amount of the allowed Equity Interest holders that actually
vote, vote in favor of the Plan. A class that is not impaired is deemed to accept the Plan for purpose
of payment. For example, Administrative Expenses and Priority Tax Claims are not classified.

         2.1.    Unclassified Claims.

        Certain types of Claims are automatically entitled to specific treatment under the Code.
For example, Administrative Expenses and Priority Tax Claims are not classified. They are not
considered impaired, and holders of such Claims do not vote on the Plan. They may, however,
object if, in their view, their treatment under the Plan does not comply with that required by the
Code. As such, the Plan does not place the following Claims in any class:

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                A.     Administrative Expenses

         The Debtors must pay all Administrative Expenses in full. If an Administrative Expense
is disputed, the Bankruptcy Court must determine the validity and amount of the Administrative
Expense, or in other words, "allow" the Administrative Expense. Any Administrative Expense
that is undisputed and is due and owing on the Confirmation Date must be paid in accordance with
this Plan, or upon such other terms as agreed upon by the Debtors and the Administrative Claimant
or court order. If the Administrative Expense is disputed, payment will be made after the
Administrative Expense is allowed by the Bankruptcy Court.

        There are several types of Administrative Expenses, including the following:

   1. If the Debtors trades in the ordinary course of business following its filing of the Chapter
      11 Case, Creditors are entitled to be paid in full for the goods or services provided. This
      ordinary trade debt incurred by the Debtors after the Petition Date will be paid on an
      ongoing basis in accordance with the ordinary business practices and terms between the
      Debtors and its trade Creditors.

   2. If the Debtors received goods it has purchased in the ordinary course of business within 20
      days before the Petition Date, the value of the goods received is an Administrative
      Expense.

   3. Administrative Expenses also include any post-petition fees and expenses allowed to
      professionals, including the allowed claim of the Trustee for fees and/or reimbursements,
      and for attorneys and accountants employed upon Bankruptcy Court authority to render
      services to the Debtors during the course of the Chapter 11 cases. These fees and expenses
      must be noticed to Creditors and approved by the Bankruptcy Court prior to payment.

       The following chart lists the Debtors’ estimated Administrative Expenses, and their
proposed treatment under the Plan:

           Type                 Estimated Amount                        Proposed Treatment
 Expenses arising in the            $0.00              Paid in full in the ordinary course of business or
 ordinary course of                                                  on the Effective Date.
 business after the
 Petition Date
 Administrative Tax                   $0.00                 Paid in full on the Effective Date.
 Claim
 The value of goods                   $0.00                  Paid in full on the Effective Date.
 received in the ordinary
 course of business
 within 20 days before
 the Petition Date



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       Politan Law, LLC              $25,000.00-estimate       Paid on the Effective Date or within 10 days of
                                                               entry of an Order approving the application for
                                                                        allowances under Section 330
       Nancy Isaacson,               $5,000.00-estimate        Paid on the Effective Date or within 10 days of
       Subchapter V Trustee                                    entry of an Order approving the application for
                                                                         allowances under Section 330
                TOTAL                    $30,000.00




                           B.      Priority Tax Claims.

             Priority Tax Claims are unsecured income, employment, and other taxes described
      by § 507(a)(8) of the Code. Unless the holder of such a § 507(a)(8) Priority Tax Claim agrees
      otherwise, it must receive the present value of such Claim, in regular installments paid over a
      period not exceeding 5 years from the order of relief.

             Each holder of a Priority Tax Claim will be paid as set forth in the chart below:

 Name of Taxing Authority           Estimated         Date of Assessment                   Treatment
    and Type of Tax                  Amount
The Internal Revenue Service        $8,447.60      December 31, 2021          Payment Interval = Quarterly
(Proof of Claim No. 1 in the                       estimated income           Begin Date = 1st Quarter
Claims Register) asserting a                       (priority); December       following Effective Date
                                                                              End Date =20th Quarter
claim in the amount of                             31, 2016 estimated
                                                                              following Effective Date
$8,447.60 as a priority claim                      income (general            Interest Rate % =0.00
and $17,097.88 as a general                        unsecured)                 Annual Payment = $422.38
unsecured claim                                                               Total Payment = $8,447.60

                                                                              $17,097.88 as a general
                                                                              unsecured claim to be treated
                                                                              in Class 2 described below.

                   2.2     Classes of Claims and Equity Interests.

              The following are the classes set forth in the Plan, and the proposed treatment that they
      will receive under the Plan:

                           A. Classes of Secured Claims

              Allowed Secured Claims are Claims secured by property of the Debtors’ bankruptcy
      estate (or that are subject to setoff) to the extent allowed as secured Claims under § 506 of the
      Code. If the value of the collateral or setoffs securing the Creditor’s Claim is less than the amount
      of the Creditor’s Allowed Claim, the deficiency will be classified as a general unsecured Claim.

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      In addition, certain claims secured only by the Debtors’ principal residence, may require different
      treatment pursuant to § 1190(3) of the Code as set forth below, if applicable.

              The following chart lists all classes containing the Debtors’ secured prepetition Claims and
      their proposed treatment under the Plan:


CLASS             DESCRIPTION                INSID      IMPAIRED                 TREATMENT
                                              ER
  1        Class One consists of a Secured No           No             Class One claim holder shall retain
           Claim held by TrustCo Bank                                  the lien it held as same existed
           against real property located at                            immediately prior to the Petition
           39 Walker Avenue, Closter, New                              Date up to the amount of its allowed
           Jersey. The creditor did not file                           secured claim.
           a Proof of Claim but its claims
           were listed on Schedule D in the                            Monthly Payment = $2,235.00
           as secured claim.                                           Lien Treatment = Unaffected

           Allowed Secured Amount
           = $461,000.00-Mortgage
           = $186,722.18-Line of Credit

           Total- $647,722.18


                      B. Classes of Priority Unsecured Claims.

              Certain priority Claims that are referred to in §§ 507(a)(1), (4), (5), (6), and (7) of the
       Code are required to be placed in classes. The Code requires that each holder of such a Claim
       receive cash on the Effective Date of the Plan equal to the allowed amount of such Claim.
       However, a class of holders of such Claims may vote to accept different treatment.
              The Debtors do not owe any Priority Unsecured Claims.

                      C. Class[es]of General Unsecured Claims

               General unsecured Claims are not secured by property of the estate and are not entitled to
       priority under § 507(a) of the Code.


  CLASS DESCRIPTION                        IMPAIRED TREATMENT
                                           (Y/N)
       2       Class Two are holders       Yes      In accordance with the Debtors’ cash flow
               of General Unsecured                 analysis and Financial Projections (annexed as
               Claims, including                    Exhibit C to this Plan) the Debtors have a
               allowed deficiency                   projected Disposable Income of approximately
               claims of creditors in               $47,892.00 annually (as defined in Section


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       prior classes and                            1325(b)(2) and 707(b)(2)(A) of the Bankruptcy
       claims of creditors not                      Code) or $224,257.39 over the life of the Plan, all
       otherwise classified                         of which will be paid as follows:
       under the Plan. The
       estimated amount of                          Commencing on the first quarter (3 months)
       unsecured claims as                          following the Effective Date of the Plan and
       scheduled or filed is                        quarterly thereafter for a total of 5 years, the
       $2,216,566.59.                               Debtors shall make payments in an amount equal
                                                    to one-quarter (1/4) of annual projected disposable
                                                    income of the Debtors (and as projected in the cash
                                                    flow analysis, annexed as Exhibit C). The Debtors
                                                    shall distribute the funds to the holders of
                                                    liquidated, non-contingent claims as scheduled or
                                                    filed, subject to timely objection to the validity or
                                                    extent of each claim and the claims of creditors not
                                                    otherwise treated under the Plan (the “General
                                                    Unsecured Claims”) on a pro-rata basis
                                                    commencing three months after the Effective Date
                                                    and quarterly thereafter during the life of the five
                                                    years of the Plan.

                                                    At the conclusion of the 20 quarterly payments
                                                    over 5 years of the Plan, the Debtors shall provide
                                                    for a balloon payment of the remaining balance
                                                    from a refinance of the real property to provide a
                                                    14.5% dividend pro rata to General Unsecured
                                                    Creditors. The amount necessary to fund the
                                                    balloon payment is estimated to be $97,000.00.

                                                    Following the Effective Date, in the event, the
                                                    Debtors default on any quarterly payment or final
                                                    payment under the Plan, and such default is not
                                                    cured within 30 days of written notice being
                                                    provided from a Creditor, the Debtors shall
                                                    commence and conduct a sale of their primary
                                                    residence (39 Walker Avenue, Closter, NJ) to
                                                    satisfy all claims of Creditors under the Plan, in
                                                    accordance with its terms.         To the extent
                                                    necessary, the Debtors shall seek to modify the
                                                    Plan pursuant to Section 6.6, to accomplish the
                                                    sale and provide distributions of the full dividend
                                                    amounts outstanding to Class 2 Creditors yielding
                                                    a 14.5% dividend.


             D. Class[es] of Equity Interest Holders.

      Equity Interest holders are parties who hold an ownership interest (i.e., equity interest) in

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the Debtors. In a corporation, entities holding preferred or common stock are Equity Interest
holders. In a partnership, Equity Interest holders include both general and limited partners. In a
limited liability company (“LLC”), the Equity Interest holders are the members. Finally, with
respect to an individual who is a debtor, the Debtors are the Equity Interest holder. The Debtors
are individuals and there are not classes of Equity Interest holders.

                2.3    Estimated Number and Amount of Claims Objections.

        The Debtors may object to the amount or validity of any Claim within 60 days of the
Confirmation Date by filing an objection with the Bankruptcy Court and serving a copy of the
objection on the holder of the Claim. The Claim objected to will be treated as a Disputed Claim
under the Plan. If and when a Disputed Claim is finally resolved by the allowance of the Claim in
whole or in part, the Debtors will pay the Allowed Claim in accordance with the Plan.

        The Debtors have reviewed all the Proof of Claims filed to date. Debtors do not object to
any filed claim at his time but shall retain the right to dispute any proofs of claim filed in
accordance with the Plan.

         2.4.   Treatment of Executory Contracts and Unexpired Leases.

        Executory Contracts are contracts where significant performance of the contract remains
for both the Debtors and another party to the contract. The Debtors have the right to reject, assume
(i.e. accept), or assume and assign these types of contracts to another party, subject to the
Bankruptcy Court’s approval. The paragraphs below explain the Debtors’ intentions regarding
their Executory Contracts (which includes their unexpired leases) and the impact such intentions
would have on the other parties to the contracts. The Debtors will assume the executory lease with
Benzl Bush Motor Car Corp. ("Benzl"). The unexpired Benzl Lease terminates on its own terms
in June 2023 and currently there is no cure amount as there is no arrearage due on the lease.
Although the Benzl Lease is countersigned by Pankaj Desai, payments are made and will continue
to be made by the Corporation.

        On the Effective Date, all Executory Contracts and Unexpired Leases, except for those
specifically assumed by the Debtors in writing or previously assumed by Court Order, shall be
deemed rejected. The order confirming the Plan shall constitute an order approving the rejection
of any such lease or contract. If you are a party to a contract or lease to be rejected and you object
to the rejection of your contract or lease, you must file and serve your objection to the Plan within
the deadline for objecting to the confirmation of the Plan.

       THE BAR DATE FOR FILING A PROOF OF CLAIM BASED ON A CLAIM
ARISING FROM THE REJECTION OF A LEASE OR CONTRACT IS FIXED BY D.N.J.
LBR 3003-1(b). Any claim based on the rejection of an executory contract or unexpired lease will
be barred if the proof of claim is not timely filed, unless the Court later orders otherwise


         2.5.   Means for Implementation of the Plan.


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        The Debtors will fund the Plan with their net disposable income for a period of five (5)
years from the Effective Date and make pro rata quarterly payments. On Confirmation of the
Plan, all property of the Debtors, tangible and intangible, including, without limitation, licenses,
furniture, fixtures and equipment, will revert, free and clear of all Claims and Equitable Interests
except as provided in the Plan, to the Debtors.

        The Debtors expect to have sufficient cash on hand to make the payments required on the
Effective Date. The Plan will be funded from a combination of (i) funds on hand at the time of
Confirmation; (ii) future income generated through their employment and sublet of room in
primary residence; and (iii) refinance of real property located at 39 Walker Avenue to fund a final
balloon payment equal to the proposed dividend. Alternatively, upon any payment default under
the Plan which is not cured within 30 days of written notice, the Debtors will sell the real property
to fund the Plan payments. The cash flow analysis and financial projections annexed as Exhibit
C illustrates the amount of income received and the resulting net Disposable Income.

          2.6.   Payments.

         If the Plan is confirmed under §1191(a), payments to Creditors provided for in the Plan
will be made by the Trustee pursuant to §1194(a). Once the Trustee’s service is terminated under
§ 1183(c), the Debtors shall make Plan payments except as otherwise provided in the Plan or in
the order confirming the Plan.
        If the Plan is confirmed under section § 1191(b), except as otherwise provided in the Plan
or in the order confirming the Plan, the Trustee shall make all Plan payments to creditors under
the Plan.
          2.7.   Post-Confirmation Management.

          The Debtors will manage their Plan of reorganization post-confirmation.

          2.8.   Tax Consequences of the Plan.

         Creditors and Equity Interest Holders Concerned with How the Plan May Affect
  Their Tax Liability Should Consult with Their Own Accountants, Attorneys, And/Or
  Advisors.

          The following disclosure of possible tax consequences is intended solely for the purpose
  of alerting readers to possible tax issues this Plan may present to the Debtors. The Proponent
  CANNOT and DOES NOT represent that the tax consequences contained below are the only
  tax consequences of the Plan because the Tax Code embodies many complicated rules which
  make it difficult to state completely and accurately all the tax implications of any action.

          Generally, a holder of a Claim which is subject to taxation in the United States (a
  "Taxpayer-Claimant") will realize income or loss for federal and state income tax purposes if
  its Claim is paid, unless such income or loss has previously been recognized, to the extent that
  such a payment would have created income or loss if paid by the Debtors outside the jurisdiction

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  of the Bankruptcy Court.

          A Taxpayer-Claimant which receives nothing or less than the full amount with respect
  to its Claim will realize a loss for federal and state income tax purposes to the extent that the
  Taxpayer-Claimant's tax basis in the Claim exceeds its recovery, except to the extent that a loss
  with respect to such Claim has previously been recognized.

          There are complex issues which arise whenever debt is not paid in full, and only a
  limited summary of the rules can be given here. Taxpayer-Claimants should consult with their
  own tax advisors as to the impact of these rules on their particular situation.


         2.9.   Projections in Support of Debtors’ Ability to Make Payments Under the
                Proposed Plan

        The Debtors have projected their income and expenses over a five-year period commencing
upon the Effective Date. The projections are based on an analysis of historical expenses, and
current and foreseeable needs. Those projections are illustrated on the attached as Exhibit C.

                                         ARTICLE 3
                                    FEASIBILITY OF PLAN

        The Bankruptcy Court must find that confirmation of the Plan is not likely to be followed
by the liquidation, or the need for further financial reorganization, of the Debtors or any successor
to the Debtors, unless such liquidation or reorganization is proposed in the Plan.

         3.1.    Ability to Initially Fund Plan.

        The Debtors believes that they will have enough cash on hand on the Effective Date of the
Plan to pay all the Claims and expenses that are entitled to be paid on that date. The Plan will be
funded from a combination of (i) funds on hand in the estate at the time of Confirmation; and (ii)
Debtors’ generated income. Tables showing the amount of cash on hand on the Effective Date of
the Plan, and the sources of that cash, are below:

 Cash anticipated on hand on the Effective Date:                                $33,450.00
 Less:
        Amount of Administrative Expenses                                     ($20,000.00)
        payable on effective date of Plan (less retainers)
                                                                                $13,450.00

 The sources of the cash the Debtors will have on hand by the Effective
 Date are estimated as follows:

 Total cash in the Debtors’ bank account (as of 3/31/22)                        $29,484.72




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         3.2.   Ability to Make Future Plan Payments And Operate Without Further
                Reorganization.

        The Debtors must submit all or such portion of the future earnings or other future income
of the Debtors to the supervision and control of the Trustee as is necessary for the execution of the
Plan.

        The Debtors have provided projected financial information. Those projections are listed
 in Exhibit C (referenced in § 2.9, above).

        The Debtors’ financial projections show that the Debtors will have an aggregate annual
 average cash flow, after paying operating expenses and post- confirmation taxes, of between
 $41,750.15 and $47,892.00. The final Plan payment is expected to be paid five (5) years
 following the Effective Date and will include a final balloon payment to be funded from a
 refinance of the real property. That final payment is estimated to be approximately $97,000.00.

      You Should Consult with Your Accountant or other Financial Advisor If You Have
 Any Questions Pertaining to These Projections.

                                         ARTICLE 4
                                   LIQUIDATION ANALYSIS

        To confirm the Plan, the Bankruptcy Court must find that all Creditors and Equity Interest
holders who do not accept the Plan will receive at least as much under the Plan as such Claimants
and Equity Interest holders would receive in a Chapter 7 liquidation. A Liquidation Analysis is
attached hereto as Exhibit D. As illustrated in the Liquidation Analysis, all Creditors and Equity
Interest holders would receive more through this Plan that if it were a case under Chapter 7.

                                            ARTICLE 5
                                           DISCHARGE

        Discharge. If the Plan is confirmed under § 1191(a), on the Confirmation Date of this
Plan, the Debtors will be discharged from any debt that arose before confirmation of this Plan,
subject to the occurrence of the Effective Date, to the extent specified in § 1141(d) of the
Bankruptcy Code; or

         If the Plan is confirmed under § 1191(b), as soon as practicable after completion by
 the Debtors of all payments due under the Plan, unless the court approves a written waiver of
 discharge executed by the Debtors after the order for relief under this chapter, the court shall
 grant the Debtors a discharge of all debts provided in section 1141(d)(1)(A) of this title, and all
 other debts allowed under section 503 of this title and provided for in this Plan, except any debt—

       (1) on which the last payment is due after the first 3 years of the plan, or such other time
       not to exceed 5 years fixed by the court; or

       (2) if applicable, of the kind specified in section 523(a) of this title.

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                                        ARTICLE 6
                                    GENERAL PROVISIONS

         6.1.   Title to Assets.

       If a plan is confirmed under § 1191(a), except as otherwise provided in the Plan or in the
order confirming the Plan, (i) confirmation of the Plan vests all of the property of the estate in the
Debtors, and (ii) after confirmation of the Plan, the property dealt with by the Plan is free and
clear of all Claims and Equity Interests of Creditors, equity security holders, and of general
partners in the Debtors.

       If a plan is confirmed under § 1191(b), property of the estate includes, in addition to the
property specified in § 541, all property of the kind specified in that section that the Debtors
acquires, as well as earnings from services performed by the Debtors, after the date of
commencement of the case but before the case is closed, dismissed, or converted to a case under
chapter 7, 12, or 13 of the Bankruptcy Code, whichever occurs first. Except as provided in § 1185
of the Bankruptcy Code, the Plan, or the order confirming the Plan, the Debtors shall remain in
possession of all property of the estate.

        6.2.    Binding Effect.

        If the Plan is confirmed, the provisions of the Plan will bind the Debtors and all Creditors,
whether or not they accept the Plan. The rights and obligations of any entity named or referred to
in this Plan will be binding upon and will inure to the benefit of the successors or assigns of such
entity.

        6.3.    Severability.

      If any provision in this Plan is determined to be unenforceable, the determination will in
no way limit or affect the enforceability and operative effect of any other provision of this
Plan.

        6.4.    Retention of Jurisdiction by the Bankruptcy Court.

        The Bankruptcy Court shall retain jurisdiction of this case with regard to the following
matters: (i) to make such orders as are necessary or appropriate to implement the provisions of this
Plan and to resolve any disputes arising from implementation of the Plan; (ii) to rule on any
modification of the Plan proposed under section 1193; (iii) to hear and allow all applications
for compensation to professionals and other Administrative Expenses; (iv) to resolve all issues
regarding Claims objections, and issues arising from the assumption/rejection of executory
contracts or unexpired leases, and (v) to adjudicate any cause of action which may exist in favor
of the Debtors, including preference and fraudulent transfer causes of action.

        6.5.    Captions.


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        The headings contained in this Plan are for convenience of reference only and do not
affect the meaning or interpretation of this Plan.

        6.6.    Modification of Plan.

       The Debtors may modify the Plan at any time before confirmation of the Plan pursuant to
§ 1193(a). However, the Bankruptcy Court may require additional items including revoting on the
Plan.

        If the Plan is confirmed under Section 1191(a), the Debtors may also seek to modify the
Plan at any time after confirmation only if (1) the Plan has not been substantially consummated
and (2) the Bankruptcy Court authorizes the proposed modifications after notice and a hearing.

        If the Plan is confirmed under Section 1191(b), the Debtors may seek to modify the Plan
at any time only if (1) it is within 3 years of the Confirmation Date, or such longer time not to
exceed 5 years, as fixed by the court and (2) the Bankruptcy Court authorizes the proposed
modifications after notice and a hearing.

        6.7.    Final Decree.

        Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules
of Bankruptcy Procedure, the Debtors, or such other party as the Bankruptcy Court shall designate
in the Plan Confirmation Order, shall file a motion with the Bankruptcy Court to obtain a final
decree to close the case. Alternatively, the Bankruptcy Court may enter such a final decree on its
own motion.

                                          ARTICLE 7
                                        ATTACHMENTS

        The following documents accompany the Plan:


[X]    Debtors’ Assets -summary annexed as Exhibit A.
[X]    Debtors’ Liabilities – summary annexed as Exhibit B
[X]    Debtors’ Financial Projections and cash flow analysis, annexed as Exhibit C
[X]    Debtors’ Liquidation Analysis, annexed as Exhibit D.


                                  ARTICLE 8
                            FREQUENTLY ASKED QUESTIONS

        What Are the Debtors Attempting to Do in Chapter 11? Chapter 11 is the principal
reorganization chapter of the Bankruptcy Code. Under Chapter 11, a debtor’s attempts to
restructure the claims held against it. Formulation and confirmation of a plan of reorganization is
the primary goal of Chapter 11. When reorganization is not feasible, however, a debtors may
propose a liquidating plan under Chapter 11. The plan is the legal document which sets forth the

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manner and the means by which holders of claims against a debtors will be treated.

        Why Am I Receiving This Plan? In order to confirm a plan of reorganization [or
liquidation], the Bankruptcy Code requires that a debtors solicit acceptances of a proposed plan,
which it is doing with this Plan. If the creditors are satisfied with the information provided in the
Plan and the terms of the Plan as proposed and have voted for the Plan and returned the requisite
number of ballots to counsel for the Debtors, the Bankruptcy Court may confirm the Plan as
proposed by the Debtors.

        How Do I Determine Which Class I Am In? To determine the class of your claim or
interest, you must first determine whether your claim is secured or unsecured. Your claim is
secured if you have a validly perfected security interest in collateral owned by the Debtors. If you
do not have any collateral, your claim is unsecured. The Table of Contents will direct you to the
treatment provided to the class in which you are grouped. The pertinent section of the Plan dealing
with that class will explain, among other things, who is in that class, what is the size of the class,
what you will receive if the Plan is confirmed, and when you will receive what the Plan has
provided for you if the Plan is confirmed. Section 2.2 lists all classes of claimants and their types
of claims.

        Why Is Confirmation of a Plan of Reorganization Important? Confirmation of the
Plan is necessary because if the Plan is confirmed, the Debtors and all of its creditors are bound
by the terms of the Plan. If the Plan is not confirmed, the Debtors may not pay creditors as
proposed in the Plan while the Debtors remains in bankruptcy.

        What Is Necessary to Confirm a Plan of Reorganization? Confirmation of the Plan
requires, among other things, the vote in favor of the Plan of two-thirds in total dollar amount and
a majority in number of claims actually voting in each voting class. If the vote is insufficient, the
Bankruptcy Court can still confirm the Plan, but only if certain additional elements are
shown including that the plan does not discriminate unfairly, and is fair and equitable, with respect
to each class of claims or interests that is impaired under, and has not accepted, the plan.

        Am I Entitled to Vote on the Plan? Any creditor of the Debtors whose claim is
IMPAIRED under the Plan is entitled to vote, if either (i) the creditor’s claim has been scheduled
by the Debtors and such claim is not scheduled as disputed, contingent, or unliquidated, or (ii) the
creditor has filed a proof of claim on or before the last date set by the Bankruptcy Court for such
filings. Any claim to which an objection has been filed (and such objection is still pending) is not
entitled to vote, unless the Bankruptcy Court temporarily allows the creditor to vote upon the
creditor’s motion. Such motion must be heard and determined by the Bankruptcy Court prior to
the date established by the Bankruptcy Court to confirm the Plan.

        How Do I Determine Whether I Am in an Impaired Class? Section 2.2 of Plan identifies
the classes of creditors whose claims are impaired. If your claim is impaired, your vote will be
considered by the Bankruptcy Court.

        When Is the Deadline by Which I Need to Return My Ballot? The Plan is being
distributed to all claim holders for their review, consideration and approval. The deadline by which


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ballots must be returned is seven (7) days before the Confirmation hearing date. Ballots should
be mailed to the following address:

Politan Law, LLC
c/o Mark J. Politan, Esq.
88 East Main Street, #502
Mendham, New Jersey 07945

        How Do I Determine When and How Much I Will Be Paid? In Section 2.2, the
Debtors have provided both written and financial summaries of what it anticipates each class of
creditors will receive under the Plan
 .
                                         ARTICLE 9
                                       DEFINITIONS


        9.1.      The definitions and rules of construction set forth in §§ 101 and 102 of the
 Bankruptcy Code shall apply when terms defined or construed in the Code are used in this Plan.
 The definitions that follow that are found in the Code are for convenience of reference only, and
 are superseded by the definitions found in the Code

       9.2.     Administrative Claimant: Any person entitled to payment of an Administration
 Expense.

         9.3.     Administrative Convenience Class:         A class consisting of every unsecured
 claim that is less than or reduced to an amount that the Bankruptcy Court approves as reasonable
 and necessary for administrative convenience.

         9.4. Administrative Expense: Any cost or expense of administration of the Chapter
 11 case entitled to priority under Section 507(a)(2) of the Code and allowed under Section 503(b)
 of the Code, including without limitation, any actual and necessary expenses of preserving the
 Debtors’ estate, any actual and necessary expenses incurred following the filing of the
 bankruptcy petition by the Debtors-in-Possession, allowances of compensation or
 reimbursement of expenses to the extent allowed by the Bankruptcy Court under the Bankruptcy
 Code, the allowed claim of the Trustee for fees and/or reimbursements, and any fees or charges
 assessed against any of the Debtors’ estates under Chapter 123, Title 28, United States Code.

         9.5 Administrative Tax Claim: Any tax incurred pursuant to Section 503(b)(1)(B)
 of the Code.

         9.6.     Allowed Claim: Any claim against the Debtors pursuant to Section 502 of the
 Code to the extent that: (a) a Proof of Claim was either timely filed or was filed late with leave
 of the Bankruptcy Court or without objection by the Debtors, and (b) as to which either (i) a
 party in interest, including the Debtors, does not timely file an objection, or (ii) is allowed by a
 Final Order.

        9.7.    Allowed Priority Tax Claim: A Priority Tax Claim to the extent that it is or has

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 become an Allowed Claim, which in any event shall be reduced by the amount of any offsets,
 credits, or refunds to which the Debtors or Debtors-in-Possession shall be entitled on the
 Confirmation Date.

         9.8. Allowed Secured Claim: Allowed Secured Claims are claims secured by property
 of the Debtors’ bankruptcy estate (or that are subject to setoff) to the extent allowed as secured
 claims under § 506 of the Code.

        9.9. Allowed Unsecured Claim: An Unsecured Claim to the extent it is, or has become,
 an Allowed Claim, which in any event shall be reduced by the amount of any offsets, credits, or
 refunds to which the Debtors or Debtors-in-Possession shall be entitled on the Confirmation
 Date.

        9.10. Bankruptcy Code or Code: The Bankruptcy Reform Act of 1978, as amended
 and codified as Title 11, United States Code.

           9.11. Bankruptcy Court: The United States Bankruptcy Court for the District of New
 Jersey.

           9.12.   Bankruptcy Rules: The Federal Rules of Bankruptcy Procedure.

        9.13. Cash: Cash, cash equivalents and other readily marketable securities or
 instruments issued by a person other than the Debtors, including, without limitation, readily
 marketable direct obligations of the United States of America, certificates of deposit issued by
 banks and commercial paper of any entity, including interest accrued or earned thereon.

        9.14. Chapter 11 Case: This case under chapter 11 of the Bankruptcy Code in which
 Pankaj and Varsha Desai are the Debtors-in-Possession.

         9.15     Claim: Any “right to payment from the Debtors whether or not such right is
 reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,
 undisputed, legal, equitable, secured or unsecured; or any right to an equitable remedy for future
 performance if such breach gives rise to a right of payment from the Debtors, whether or not
 such right to an equitable remedy is reduced to judgment, fixed, contingent, matured, disputed,
 undisputed, secured or unsecured.” 11 U.S.C. § 101(5).

         9.16. Class: A category of holders of claims or interests which are substantially similar
 to the other claims or interests in such class.

           9.17. Confirmation: The entry by the Bankruptcy Court of an order confirming this
 Plan.

        9.18. Confirmation Date: The Date upon which the Bankruptcy Court shall enter the
 Confirmation Order; provided however, that if on motion the Confirmation Order or
 consummation of the Plan is stayed pending appeal, then the Confirmation Date shall be the
 entry of the Final Order vacating such stay or the date on which such stay expires and is no

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 longer in effect.

         9.19.   Confirmation Hearing: The hearing to be held on [TBD] to consider confirmation
 of the Plan.

         9.20. Confirmation Order: An order of the Bankruptcy Court or any amendment
 thereto confirming the Plan in accordance with the provisions of chapter 11 of the Bankruptcy
 Code.

         9.21. Creditor: Any person who has a Claim against the Debtors that arose on or before
 the Petition Date.

        9.22. Debtors and Debtors-in-Possession: Pankaj and Varsha Desai, the debtors-in-
 possession in this Chapter 11 Case.

        9.23. Disputed Claim: Any claim against the Debtors pursuant to Section 502 of the
 Code that the Debtors have in any way objected to, challenged or otherwise disputed.

        9.24. Distributions: The property required by the Plan to be distributed to the holders
 of Allowed Claims.

         9.25. Effective Date: Pursuant to D.N.J. LBR 3020-1, the effective date of a chapter 11
plan is 30 days after entry of the order confirming the plan unless the plan or confirmation order
provides otherwise.

         9.26.   Equity Interest: An ownership interest in the Debtors.

         9.27. Executory Contracts: All unexpired leases and executory contracts as described
 in Section 365 of the Bankruptcy Code.

        9.28. Final Order: An order or judgment of the Bankruptcy Court that has not been
 reversed, stayed, modified or amended and as to which (a) any appeal that has been taken has
 been finally determined or dismissed, or (b) the time for appeal has expired and no notice of
 appeal has been filed.

         9.29. IRC: The Internal Revenue Code.

         9.30. Petition Date: February 9, 2022, the date the joint chapter 11 petition for relief
was filed.

        9.31. Plan: This Plan, either in its present form or as it may be altered, amended, or
 modified from time to time.

        9.32. Priority Tax Claim: Any Claim entitled to priority in payment under Section
507(a)(8) of the Bankruptcy Code.


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        9.33.   Reorganized Debtors: The Debtors after the Effective Date.

        9.34. Schedules: Schedules and Statement of Financial Affairs, as amended, filed by
 the Debtors with the Bankruptcy Court listing liabilities and assets.

         9.35. Secured Creditor: Any creditor that holds a Claim that is secured by property
 of the Debtors.

       9.36. Trustee: Nancy Isaacson, the trustee appointed pursuant to 11 U.S.C. § 1183(a)
and whose duties are prescribed under 11 U.S.C. 1183(b), the Plan, or the order confirming the
Plan.

        9.37. Unsecured Creditor: Any Creditor that holds a Claim in the Chapter 11 case
 which is not a secured Claim.


Dated: May 10, 2022                                Respectfully submitted,


                                                    By:     /s/ Mark J. Politan

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